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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ABG INTERMEDIATE HOLDINGS 2, LLC AND                 Case No.: 22-CV-00473
ABG-SPG ES, LLC,

                      Plaintiff,

               -against-

BOLT FINANCIAL, INC.,

                      Defendant.


 DEFENDANT BOLT FINANCIAL, INC.’S NOTICE OF MOTION AND MOTION TO
             DISMISS THE FIRST AMENDED COMPLAINT


       PLEASE TAKE NOTICE that Defendant Bolt Financial, Inc., by and through its

undersigned counsel, will move this Court, at a date and time to be determined by the Court, for

an order dismissing in its entirety Plaintiffs’ First Amended Complaint under Rule 12(b)(6) of

the Federal Rules of Civil Procedure. This Motion is based on the accompanying Memorandum

of Law in Support of Defendant Bolt Financial, Inc.’s Motion to Dismiss the Complaint, and the

Declaration of Adam Wolfson dated March 18, 2022, with exhibits thereto.
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DATED: March 18, 2022
                                          QUINN EMANUEL URQUHART &
                                            SULLIVAN, LLP




                                          By: /s/ Adam Wolfson
                                             Richard I. Werder, Jr.
                                             Adam Wolfson
                                             Victoria Parker (pro hac vice forthcoming)
                                             Philip B. Jobe

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